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                        IN THE UNITED STATES DISTRICT C URT
                             NORTHERN DISTRICT OF TEXAS         AUG 2 9 ?018
                                 FORT WORTH DIVISION
                                                          CLERK, U.S. DlSTRlCT COURT
                                                                                By _   __,,.-...,.----
UNITED STATES OF AMERICA                           §                                     Deputy
                                                   §
vs.                                                §   NO. 4:11-CR-151-A
                                                   §
CRYSTAL MASON-HOBBS                                §



                                               ORDER

        Came on for consideration the emergency motion of defendant,

Crystal Mason-Hobbs, to continue. The court finds that the motion

should be denied.

        The court ORDERS that defendant's emergency motion to

continue be, and is hereby, denied, and that the revocation

hearing set for August 30, 2018, will go forward at the scheduled

time in the Fourth Floor Courtroom of the United States

Courthouse, Fort Worth, Texas, at which time, date, and place

defendant, her counsel', and counsel for the government shall be

present.

        SIGNED August 29, 2018.
                                                          I




        'The court notes that defendant is no represented by three attorneys and that each of them
signed the emergency motion. The motion represents that the continuance is sought "due to Lead Counsel
having been hospitalized today." The collli will excuse lead counsel from appearing if she continues to
be unable to be present.
